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Fill in this information to identify your case:

United States Bankruptcy Court for the:

DISTRICT OF MASSACHUSETTS - EASTERN DIVISION

Case number (if known)                                                      Chapter      11
                                                                                                                              Check if this an
                                                                                                                              amended filing




Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                           04/20
If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor's name and the case number (if
known). For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.


1.   Debtor's name                Mariner Seafood, LLC

2.   All other names debtor
     used in the last 8 years
     Include any assumed
     names, trade names and
     doing business as names

3.   Debtor's federal
     Employer Identification      XX-XXXXXXX
     Number (EIN)


4.   Debtor's address             Principal place of business                                     Mailing address, if different from principal place of
                                                                                                  business

                                  86 Macarthur Drive
                                  New Bedford, MA 02740
                                  Number, Street, City, State & ZIP Code                          P.O. Box, Number, Street, City, State & ZIP Code

                                  Bristol                                                         Location of principal assets, if different from principal
                                  County                                                          place of business

                                                                                                  Number, Street, City, State & ZIP Code


5.   Debtor's website (URL)


6.   Type of debtor                   Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                      Partnership (excluding LLP)
                                      Other. Specify:




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Debtor    Mariner Seafood, LLC                                                                         Case number (if known)
          Name



7.   Describe debtor's business        A. Check one:
                                          Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                          Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                          Railroad (as defined in 11 U.S.C. § 101(44))
                                          Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                          Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                          Clearing Bank (as defined in 11 U.S.C. § 781(3))

                                          None of the above

                                       B. Check all that apply
                                          Tax-exempt entity (as described in 26 U.S.C. §501)
                                          Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C. §80a-3)
                                          Investment advisor (as defined in 15 U.S.C. §80b-2(a)(11))

                                       C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor.
                                          See http://www.uscourts.gov/four-digit-national-association-naics-codes.



8.   Under which chapter of the        Check one:
     Bankruptcy Code is the
                                          Chapter 7
     debtor filing?
                                          Chapter 9

     A debtor who is a “small             Chapter 11. Check all that apply:
     business debtor” must check
     the first sub-box. A debtor as                              The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D), and its aggregate
     defined in § 1182(1) who                                    noncontingent liquidated debts (excluding debts owed to insiders or affiliates) are less than
     elects to proceed under                                     $2,725,625. If this sub-box is selected, attach the most recent balance sheet, statement of
     subchapter V of chapter 11                                  operations, cash-flow statement, and federal income tax return or if any of these documents do not
     (whether or not the debtor is a                             exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
     “small business debtor”) must                               The debtor is a debtor as defined in 11 U.S.C. § 1182(1), its aggregate noncontingent liquidated
     check the second sub-box.                                   debts (excluding debts owed to insiders or affiliates) are less than $7,500,000, and it chooses to
                                                                 proceed under Subchapter V of Chapter 11. If this sub-box is selected, attach the most recent
                                                                 balance sheet, statement of operations, cash-flow statement, and federal income tax return, or if
                                                                 any of these documents do not exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
                                                                 A plan is being filed with this petition.
                                                                 Acceptances of the plan were solicited prepetition from one or more classes of creditors, in
                                                                 accordance with 11 U.S.C. § 1126(b).
                                                                 The debtor is required to file periodic reports (for example, 10K and 10Q) with the Securities and
                                                                 Exchange Commission according to § 13 or 15(d) of the Securities Exchange Act of 1934. File the
                                                                 Attachment to Voluntary Petition for Non-Individuals Filing for Bankruptcy under Chapter 11
                                                                 (Official Form 201A) with this form.
                                                                 The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule 12b-2.
                                          Chapter 12

9.   Were prior bankruptcy                No.
     cases filed by or against
     the debtor within the last 8         Yes.
     years?
     If more than 2 cases, attach a
     separate list.                               District                                When                                  Case number
                                                  District                                When                                  Case number


10. Are any bankruptcy cases              No
    pending or being filed by a
    business partner or an                Yes.
    affiliate of the debtor?
     List all cases. If more than 1,
     attach a separate list                       Debtor                                                                    Relationship
                                                  District                                When                              Case number, if known


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Debtor   Mariner Seafood, LLC                                                                      Case number (if known)
         Name



11. Why is the case filed in    Check all that apply:
    this district?
                                         Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days immediately
                                         preceding the date of this petition or for a longer part of such 180 days than in any other district.
                                         A bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this district.

12. Does the debtor own or          No
    have possession of any
    real property or personal                Answer below for each property that needs immediate attention. Attach additional sheets if needed.
                                    Yes.
    property that needs
    immediate attention?                     Why does the property need immediate attention? (Check all that apply.)
                                                It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                               What is the hazard?
                                                It needs to be physically secured or protected from the weather.
                                                It includes perishable goods or assets that could quickly deteriorate or lose value without attention (for example,
                                               livestock, seasonal goods, meat, dairy, produce, or securities-related assets or other options).
                                                Other
                                             Where is the property?
                                                                              Number, Street, City, State & ZIP Code
                                             Is the property insured?
                                                No
                                                Yes.    Insurance agency
                                                        Contact name
                                                        Phone



         Statistical and administrative information

13. Debtor's estimation of      .         Check one:
    available funds
                                             Funds will be available for distribution to unsecured creditors.
                                             After any administrative expenses are paid, no funds will be available to unsecured creditors.

14. Estimated number of             1-49                                             1,000-5,000                                 25,001-50,000
    creditors                       50-99                                            5001-10,000                                 50,001-100,000
                                    100-199                                          10,001-25,000                               More than100,000
                                    200-999

15. Estimated Assets                $0 - $50,000                                     $1,000,001 - $10 million                    $500,000,001 - $1 billion
                                    $50,001 - $100,000                               $10,000,001 - $50 million                   $1,000,000,001 - $10 billion
                                    $100,001 - $500,000                              $50,000,001 - $100 million                  $10,000,000,001 - $50 billion
                                    $500,001 - $1 million                            $100,000,001 - $500 million                 More than $50 billion


16. Estimated liabilities           $0 - $50,000                                     $1,000,001 - $10 million                    $500,000,001 - $1 billion
                                    $50,001 - $100,000                               $10,000,001 - $50 million                   $1,000,000,001 - $10 billion
                                    $100,001 - $500,000                              $50,000,001 - $100 million                  $10,000,000,001 - $50 billion
                                    $500,001 - $1 million                            $100,000,001 - $500 million                 More than $50 billion




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Debtor    Mariner Seafood, LLC                                                                     Case number (if known)
          Name



          Request for Relief, Declaration, and Signatures

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to $500,000 or
           imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

17. Declaration and signature
    of authorized                The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this petition.
    representative of debtor
                                 I have been authorized to file this petition on behalf of the debtor.

                                 I have examined the information in this petition and have a reasonable belief that the information is true and correct.

                                 I declare under penalty of perjury that the foregoing is true and correct.

                                 Executed on
                                                  MM / DD / YYYY


                             X   /s/ John P. Flynn                                                        John P. Flynn
                                 Signature of authorized representative of debtor                         Printed name

                                 Title   President and Manager




18. Signature of attorney    X   /s/ Christopher M. Condon BBO                                             Date
                                 Signature of attorney for debtor                                                 MM / DD / YYYY

                                 Christopher M. Condon BBO #652430
                                 Printed name

                                 Murphy & King, Professional Corporation
                                 Firm name

                                 One Beacon Street
                                 Boston, MA 02108
                                 Number, Street, City, State & ZIP Code


                                 Contact phone     (617) 423-0400                Email address      ccondon@murphyking.com

                                 BBO #652430 MA
                                 Bar number and State




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Debtor    Mariner Seafood, LLC                                                                            Case number   (if known)

          Name



1.111.Request for Relief, Declaration, and Signatures

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to $500,000 or
           imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

17. Declaration and signature
    of authorized                 The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this petition.
    representative of debtor
                                  I have been authorized to file this petition on behalf of the debtor.

                                  I have examined the information in this petition and have a reasonable belief that the information is true and correct.

                                  I declare under penalty of perjury that the foregoing is true and correct.

                                  Executed on
                                                             M/DD/


                                                         t     .2                                               John P. Flynn
                                  S'         ure of au   eri        representative of debtor                    Printed name

                                       tle    President and Manager




 18. Signature of attorney    X                                                                                  Date
                                  Signature of attorney for debtor                                                        MM / DD / YYYY

                                  Christopher M. Condon BBO #652430
                                  Printed name

                                  Murphy & King, Professional Corporation
                                  Firm name

                                  One Beacon Street
                                  Boston, MA 02108
                                  Number, Street, City, State & ZIP Code


                                  Contact phone              (617) 423 0400
                                                                        -                 Email address    ccondon@murphyking.com


                                  BBO #652430 MA
                                  Bar number and State




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                           MARINER SEAFOOD, LLC
                     Resolution Authorizing Chapter 11 Filing

       The undersigned, being member and manager of Mariner Seafood, LLC (the
“Company”), hereby certifies, in his capacity as member and manager of the Company
and not in his individual capacity, that the following resolutions were passed, in
accordance with the requirements of applicable Massachusetts law:

   RESOLVED:         That, based on factors and information deemed relevant by
                     the manager, it is desirable and in the best interests of the
                     Company, its creditors and other interested parties that the
                     Company file a petition seeking relief under Chapter 11 of Title 11
                     of the United States Bankruptcy Code (the “Bankruptcy Code”)
                     in the United States Bankruptcy Court for the District of
                     Massachusetts.

   RESOLVED:         That John P. Flynn, the managing member of the Company, and
                     any person duly authorized by John P. Flynn (each an
                     “Authorized Person”), is empowered and directed to take action
                     to: (i) prepare and file on behalf of the Company a petition for
                     relief under Chapter 11 of the Bankruptcy Code; (ii) cause the
                     Company to perform its functions and duties as a debtor-in-
                     possession pursuant to the applicable provisions of the United
                     States Bankruptcy Code; (iii) take such steps on behalf of the
                     Company as may be necessary or appropriate to the Company’s
                     Chapter 11 proceeding; (iv) execute and file on behalf of the
                     Company any pleading appropriate or necessary for the Company
                     to fulfill its obligations under the Bankruptcy Code and/or
                     applicable non-bankruptcy law; and (vi) execute such further
                     documents and do such further acts as such Authorized Person may
                     deem necessary or appropriate with respect to the foregoing, the
                     execution of any document or the doing of any act by such
                     Authorized Person in connection with such proceedings to be
                     conclusively presumed to be authorized by this vote.

   RESOLVED:         That the Company may engage and retain Murphy & King,
                     Professional Corporation as bankruptcy counsel under general
                     retainer to represent the Company in the Chapter 11 Case, and that
                     the Company may provide such counsel with a fee for its services.

   RESOLVED:         That each Authorized Person is hereby authorized, empowered and
                     directed, in the name and on behalf of the Company, to cause the
                     Company to enter into, execute, deliver, certify, file and/or record,
                     all agreements, instruments, petitions, schedules, motions, lists,
                     affidavits, applications for approvals or ruling of governmental or

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                    regulatory authorities, pleadings, certificates and other papers, and
                    to take and perform any and all further acts and deeds that in the
                    judgment of an Authorized Person shall be necessary, proper or
                    desirable to the Company's Chapter 11 proceeding.

   RESOLVED:         That any and all actions heretofore or hereafter lawfully taken in
                     the name or on behalf of the Company in good faith by any
                     Authorized Person in furtherance of the purposes of the foregoing
                     resolutions or in connection with the transactions contemplated
                     therein are hereby ratified, confirmed, and adopted as the acts and
                     deeds of the Company.

      In witness whereof, this Resolution has been executed on the date stated below.

Dated: September 11, 2020
                                            MARINER SEAFOOD, LLC




                                                   . John P. ynn
                                                ts: Manager




                                            2
